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                                                              May 27, 2025

VIA ECF
Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Newark, New Jersey 07101
       Re:     Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
        Petitioner Mahmoud Khalil thanks the Court for its May 21 order, ECF 262, and writes to
update the Court about various structural barriers to his access to counsel and witnesses, as those
relate to his fully-briefed motions for release pending adjudication of his habeas corpus petition,
see, e.g., ECF 91 at 22, and to compel his return to New Jersey, ECF 11 and 96. To be clear,
Petitioner respectfully submits this update, but seeks no new relief by way of this letter.

        Petitioner’s need to request a federal court’s intervention last week illustrates how Mr.
Khalil’s continued detention at the Central Louisiana ICE Processing Center in Jena during the
pendency of this matter in this Court in New Jersey impedes his meaningful access to his habeas
counsel and to witnesses—including his own spouse—who would assist in his prosecution of his
habeas case.

         To begin with, it has been enormously difficult for counsel to arrange in-person legal
visitation or to communicate remotely with Mr. Khalil fully and effectively. Louisiana’s great
distance from New Jersey and Mr. Khalil’s attorneys itself poses significant problems, along with
the limitation of virtual meetings, which complicates even the simplest lawyering act of reviewing
legal documents with an incarcerated client. But the specific location of the Jena facility itself has
compounded those significant hurdles, even when counsel attempts to arrange out-of-town visits
there. The nearest airport, hotels, and rental car facilities are in Alexandria, approximately one
hour away, and the nearest large cities (New Orleans, Dallas, and Houston) are more than a four-
hour drive away. Moreover, the small size of the Alexandria airport means that travel from the
greater New Jersey region is complicated and costly to rearrange at the last minute.

        When in-person visitation in Jena does occur, that access is insufficient to allow habeas
counsel to properly consult with and advise Mr. Khalil. It also pales in comparison to the access
that Mr. Khalil would maintain to habeas counsel if he were detained in New Jersey. The
government confirmed in its May 21 declaration that there is no regular space for counsel to have
contact legal visitation with Mr. Khalil at the facility in Jena. See ECF No. 263-1 ¶ 10 (noting that
all visitation spaces at Central Louisiana ICE Processing Center have plexiglass dividers).
Visitation typically occurs in a cramped, closet-sized space with only a single chair for counsel.
That the Jena facility made a one-time exception to those rules for a contact legal visit with several
immigration counsel last week, see ECF 258 at 1, stands in stark contrast to how visits would take
place at a detention facility closer to this Court. In fact, throughout May, several attorneys from
CLEAR, one of the legal organizations representing Mr. Khalil in this case, met with a client held
at the Elizabeth Detention Center (EDC) since April. Those meetings occurred under normal EDC
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rules, in a legal visitation space where contact and document-sharing were permitted. Because
regular, in-person, contact visitation, with the ability to share and review legal documents with a
client, is essential both to maintaining a meaningful attorney-client relationship and to effective
communication, even frequent, regularly scheduled video teleconferences are not an adequate
substitute.

        Finally, last week’s events underscore that the human costs of Mr. Khalil’s detention in
Louisiana, now in its third month, continue to mount. After the government denied him the
opportunity to be present for his son’s birth and his wife’s recovery, Mr. Khalil seeks at minimum
the chance to form his own physical bond with his son—an opportunity that release or even
detention at EDC provides, but continued detention at CLIPC in Jena does not.

       In sum, release or detention at EDC in New Jersey would allow regular legal (and social)
contact visits, which would significantly aid Mr. Khalil and his lawyers in continuing to litigate
his habeas case. See ECF 96 at 5.

                                                     Respectfully submitted,

                                                  /s/ Naz Ahmad

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